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                            IN THE UNITED STATES DISTRICT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LESLEE R. CARVER,                )
                                 )
               Plaintiff,        )                     No. 15 CV 2905
                                 )
     v.                          )                     Judge Harry D. Leinenweber
                                 )
PRESENCE HEALTH NETWORK, et al., )                     Magistrate Judge Geraldine Soat Brown
                                 )
               Defendants.       )


                          REPLY IN SUPPORT OF DEFENDANTS’
                            MOTION TO STAY PROCEEDINGS

       This litigation challenges whether the Resurrection Health Care Defined Benefit Plan and

the Provena Employees’ Retirement Plan (collectively, the “Plans”) are “church plans” exempt

from ERISA. Pl.’s Cmplt., Dkt. # 1, ¶¶ 228-231. A controlling threshold legal issue in this case

is whether, as Plaintiff contends, a plan must be established only by a “church” to be included

within the “church plan” exemption to ERISA or, as Defendants contend, whether plans

established by church-affiliated entities – entities that are controlled by or associated with a

church – are also included within the “church plan” exemption. As Defendants detailed in their

motion, the answer to this question will define the issues to be litigated in this case.

       The Seventh Circuit has granted interlocutory appeal precisely to resolve this threshold

legal issue in Stapleton, et al. v. Advocate Health Care Network, et al.,1 and thus to provide

guidance to the parties and the Court on whether a church-affiliated organization can establish a




1
 See Exh. A to Defs.’ Mot. to Stay, Order Granting Mot. to Certify Interlocutory Appeal,
Stapleton, et al. v. Advocate Health Care Network, et al., No. 14 C 01873, Dkt. # 75 (N.D. Ill.
Jan. 21, 2015), Dkt. # 25-2; Exh. B to Defs.’ Mot. to Stay, Order Granting Pet. to Appeal, In re
Advocate Health Care Network, et al., No. 15-8003, Dkt. # 87 (7th Cir., Feb. 18, 2015), Dkt. #
25-3.
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“church plan” or whether the parties must also litigate what constitutes a “church.” Plaintiff does

not dispute that the Seventh Circuit ruling will have a direct impact on this litigation.

       Accordingly, based on the relevant factors set forth in In re Groupon Derivative Litig.,

882 F. Supp. 2d 1043, 1045 (N.D. Ill. 2012), Defendants have moved to stay the instant litigation

pending guidance from the Seventh Circuit. Under the Groupon factors, a stay is clearly

appropriate here since the guidance from the Seventh Circuit will define the issues to be litigated

in this case, thereby reducing the burdens of litigation without prejudicing Plaintiff.

       Plaintiff nonetheless opposes the stay, arguing that it is somehow unfair that Defendants

will not have to file a responsive pleading since the Plaintiff has filed a Complaint, Opp. at 5-7,

and that, without such a pleading, the issues joined in this case will remain “unknown.” Opp. at

3. These arguments are flawed, however. Initially, Defendants’ positions on the legal issues as

they currently exist are no secret (these same legal issues are being litigated across the country

with the same Plaintiff’s counsel), were outlined in their initial brief, and will be repeated here;

indeed, Plaintiff’s counsel acknowledges in the Complaint that Defendants take the position that

the Plans qualify as “church plans.” See Pl.’s Cmplt., Dkt. # 1, ¶¶ 128, 146. Therefore, it is

inaccurate for Plaintiff to pretend that the parties would be proceeding blindly during the brief

stay requested by Defendants. Further, nothing in the case law suggests that some milestone in a

case must be reached before a stay is granted. Most importantly, any issues briefed at this stage

would be no more than temporary and advisory since the pleadings – including the very

complaint filed by Plaintiff – will, in all likelihood, need to be properly amended to conform to

the Seventh Circuit’s ruling on the threshold legal issue of this case.          Consequently, any

responsive pleading would be premature and a waste of time and resources. For these reasons,

the Court should exercise its discretion to stay the instant proceedings pending resolution of the

Stapleton appeal.
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                                          ARGUMENT

       Plaintiff agrees that this Court has the inherent power “to control the disposition of the

causes on its docket in a manner which will promote economy of time and effort for itself, for

counsel, and for litigants.” Texas Indep. Producers & Royalty Owners Ass'n v. E.P.A., 410 F.3d

964, 980 (7th Cir. 2005); see also In re Groupon Derivative Litig., 882 F. Supp. 2d at 1045.

Plaintiff also agrees that the proper factors for determining whether a stay is warranted include:

“(1) whether a stay will simplify the issues in question and streamline the trial; (2) whether a stay

will reduce the burden of litigation on the parties and on the court; and (3) whether a stay will

unduly prejudice or tactically disadvantage the non-moving party.” In re Groupon Derivative

Litig., 882 F. Supp. 2d at 1045. The parties disagree, however, over whether, under these

factors, a stay is premature because Defendants have not filed a responsive pleading. But the

filing of a responsive pleading will not tip the balance of the Groupon factors in Plaintiff’s favor.

Indeed, Plaintiff’s insistence that a responsive pleading is necessary ignores the realities of this

litigation and the fact that such a pleading, and the very complaint to which it would be

responding, will likely be amended once the Seventh Circuit does what it has set out to do:

provide the law on the threshold legal issue in this case. Plaintiff’s attempt to introduce an

additional requirement (i.e., that a responsive pleading be filed) that is not included in the

Groupon factors has no basis in law, and is contrary to the well-accepted proposition that courts

have vast discretion in controlling their docket.


   A. A Responsive Pleading Is Unnecessary in This Litigation.

       Plaintiff contends throughout her opposition that, without a responsive pleading,

Defendants’ position is “unknown,” Opp. at 3, and that “the Court has no record of what issues

actually exist.”   Opp. at 5.    The cases she cites in support of her position, however, are

distinguishable and favor Defendants. See American Sales Company, LLC v. Warner Chilcott
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Public Limited Company, No. 13-347, 2013 WL 4016925 (D.R.I. Aug. 6, 2013); Sunrise Rentals

Enters. v. BP, PLC, No. 10-261, 2010 WL 2266772 (S.D. Ala. June 4, 2010).

        First, both American Sales and Sunrise arise in the specific context of a request for a stay

based on resolution of a motion to transfer filed before the Judicial Panel on Multi-District

Litigation, meaning MDL-specific standards applied. American Sales, 2013 WL 4016925, at *1;

Sunrise Rentals, 2010 WL 2266772, at *2. The courts relied heavily on a specific rule that the

pendency of a motion before the MDL panel does not affect the course of litigation in pending

federal district court actions. Id.

        Additionally, the American Sales and Sunrise courts held that a stay prior to responsive

pleadings was premature there because, regardless of the outcome of the pending motion to

transfer, a responsive pleading would be required. American Sales, 2013 WL 4016925, at *2;

Sunrise Rentals, 2010 WL 2266772, at *2. Plaintiff overlooks an important distinction, though;

in those cases, the only question was where the pleading would ultimately be filed following

resolution of the transfer motion. Here, however, what Defendants will file in response to

Plaintiff’s Complaint – indeed even the content of Plaintiff’s Complaint – will depend on the

Seventh Circuit’s ruling on the threshold “church plan” issue. See Rollins v. Dignity Health, et

al., No. 13-1450, 2014 WL 6693891, at *2 (N.D. Cal. Nov. 26, 2014) (noting the various

trajectories of litigation following appeal). Thus, the courts’ reasoning in American Sales and

Sunrise does not apply.2



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 Plaintiff also argues that, in American Sales and Sunrise, those courts found that there would be
no waste of judicial economy because the court would have little involvement in the case
pending the decision on the motion to transfer. Opp. at 9-10. This is not true in this matter,
however, because should this stay be denied, the parties will have to submit for the Court’s
consideration a substantial motion to dismiss, which ruling will be advisory because it will be
superseded by the Seventh Circuit’s opinion on these legal issues shortly thereafter; thereby
wasting the resources of both the Court and the parties.
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        Finally, in Sunrise, the court reasoned that a responsive pleading was necessary to

provide a clear picture of the issues in the case. Sunrise Rentals, 2010 WL 2266772, at *2. The

instant case, however, is the twelfth case presenting the identical threshold, legal issue of how to

interpret ERISA’s “church plan” exemption. The parties are well aware of the general contours

of this issue and can (and have) succinctly described them to the Court without the need for

extensive motion practice. See, infra, Section C. In fact, and as Plaintiff seemingly recognizes,

Opp. at 7, n. 8., the Supreme Court found in Landis v. North American Co. that a stay was proper

before an answer was filed where the party’s position was “abundantly apparent.”3 299 U.S.

248, 250 (1936).

        Therefore, though there may be circumstances in which a stay is not proper until after a

responsive pleading has been filed, and there can be some cases in which a responsive pleading

could be helpful, there is no blanket rule requiring such. Rather, this is left to the discretion of

the trial judge. And in this case, it is proper to stay the litigation prior to the filing of a

responsive pleading because (i) such a pleading is not necessary at this stage to identify the main

issues in the case, and (ii) the substance of any pleadings would need to change once the Seventh

Circuit rules.


    B. The Seventh Circuit Has Taken Stapleton to Decide a Threshold Legal Issue That
       Will Impact this Litigation.

        A responsive pleading is premature since the Seventh Circuit will be ruling on a threshold

legal issue presented in this case in the near future. Plaintiff baldly states that the Seventh

Circuit’s decision will “assuredly” be based on the facts presented in the Stapleton case, thus

there is no guarantee that its ruling will apply to the instant matter. Opp. at 8. This statement


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 And again, any back-and-forth between Plaintiff and Defendants on this issue will be
superseded by whatever the Seventh Circuit decides.
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mischaracterizes the purpose behind the pending Stapleton appeal, and the significant impact that

it will have on this litigation.

        Stapleton is before the Seventh Circuit upon interlocutory appeal pursuant to 28 U.S.C. §

1292(b). The entire purpose of such an appeal is to resolve a “controlling question of law,” not a

controlling question of fact. Id. (emphasis added). Indeed, Judge Chang certified for appeal and

the Seventh Circuit has agreed to consider the legal issue of whether plans established by

church-affiliated entities – entities that are controlled by or associated with a church – are also

included within ERISA’s “church plan” exemption. See Exhs. A & B to Defs.’ Mot. to Stay,

Dkt. # 25-2 & 25-3. This is the same controlling threshold legal issue present here and, even if it

does not dispose of every issue in this case, it cannot be disputed that it will greatly narrow and

define the issues of the present case. As Defendants have already detailed, this case takes two

different paths depending on the answer to this threshold legal question. One path will focus on

(i) what “control or association” means under the relevant legal standards, including the First

Amendment, and (ii) whether Congress acted unconstitutionally in expanding the “church plan”

exemption to include plans of church-affiliated entities. The other path would focus on the legal

and theological issues of what constitutes the “Church” under Catholic doctrine and Canon Law,

and possibly also the application of the retroactive correction rights provided by the “church

plan” exemption. See 29 U.S.C. § 1002(33)(D), ERISA § 3(33)(D).

        In such situations, the Supreme Court has recognized that a stay is proper. See Landis,

299 U.S. at 256 (finding that a stay was appropriate where the resolution of a pending matter

“may not settle every question of fact and law in suits by other companies, but in all likelihood it

will settle many and simplify them all.”).




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    C. Defendants’ Position Is “Abundantly Apparent.”

        As was the case in Landis, Defendants’ position that the Plans at issue in this case qualify

as “church plans” is “abundantly apparent,” thus a responsive pleading is unnecessary, pending

the ruling in Stapleton. In her opposition, Plaintiff lists the four issues arising from her currently

pled claims, and claims ignorance as to how Defendants will respond. Opp. at 2-3. Although

Plaintiff does not justify why a specific response to each allegation is necessary prior to the

Stapleton ruling, Defendants nonetheless note the following:

        On Plaintiff’s first issue of whether ERISA’s definition of a “church plan” requires that a

“church plan” be established by “a church or a convention or associates of churches,” Opp. at 2,

Defendants contend that the statutory language provides that the “church plan” exemption

includes plans established by church-affiliated organizations.4 See ERISA § 3(33)(C).

Defendants also assert that both Plans were established by entities that are, at a minimum,

controlled by and associated with the Catholic Church. Moreover, even if Plaintiff’s contrary

interpretation applies and Defendants are required to prove that the Plans were established by a

“church” – however “church” is defined legally and theologically – Defendants contend that the

Plans will satisfy this test as well.

        Second, Plaintiff contends that, once established, a “church plan” must be maintained by

a church or church-affiliated entity. Opp. at 2. Again, Defendants assert that such is the case

here.

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  Such a construction is supported by over thirty years of authority from the federal courts, as
well as the federal agencies. See, e.g., IRS Gen. Coun. Mem. 39,007, 1983 WL 197946 (Nov. 2,
1982); Lown v. Continental Casualty Co., 238 F.3d 543, 547 (4th Cir. 2001); Chronister v.
Baptist Health, 442 F.3d 648, 651-52 (8th Cir. 2006); Rinehart v. Life Ins. Co. of N. Am., No. 08-
5486, 2009 WL 995715, at *2-3 (W.D. Wa. Apr. 14, 2009); Okerman v. Life Ins. Co. of N. Am.,
No. 00-186, 2001 WL 36203082, at *3-4 (E.D. Cal. Dec. 24, 2001). And, even if there were a
latent ambiguity in this statute, then the Court should defer to this long-standing, inclusive
construction of the federal agencies that has been ratified repeatedly by Congress.

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        Third, Plaintiff argues the “church plan” exemption does not apply unless substantially

all of the employees covered by the plan are employees of a church, or a not-for-profit entity

controlled by or associated with the church. Opp. at 2-3. Again, Defendants contend that

Presence is both controlled by and associated with the Catholic Church, and that the Plans will

satisfy this test as well.

        Finally, Plaintiff submits that the “church plan” exemption violates the First Amendment

if it is construed to extend to church-affiliated entities. Opp. at 3. Notably, this legal issue is

already extensively briefed in the Stapleton appeal, and the Seventh Circuit may very well decide

that it should speak to the constitutionality of Congressional action.         But in any event,

Defendants’ position on this is simply stated: Congress constitutionally expanded the “church

plan” exemption to include church-affiliated organizations to, among other things, accomplish

the legitimate secular purpose of avoiding entangling inquiries into whether the “good works”

ministries of these church-affiliated organizations are part of a “church” under the various

religious faiths and traditions.

        In sum, as in Landis, a stay is also proper here before any responsive pleading because

Defendants’ positions are “abundantly apparent.” Landis, 299 U.S. at 250. Further, and perhaps

most important to a stay, any pleadings and motion practice on these issues will be superseded

by whatever the Seventh Circuit decides in Stapleton.

                                        CONCLUSION

        Accordingly, for the reasons stated herein and in their opening brief, Defendants seek to

stay the present case pending the Seventh Circuit’s decision in Stapleton.




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Dated: May 29, 2015                           Respectfully submitted,

                                              PRESENCE HEALTH NETWORK, ET AL.


                                              By: /s/ Nigel F. Telman

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                                 CERTIFICATE OF SERVICE

       I, Nigel F. Telman, one of the attorneys for Defendants, certify that I caused a copy of the

attached REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO STAY to be served by e-

mail via the Court’s ECF System, upon counsel for Plaintiff:

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this 29th day of May, 2015.



                                                                    /s/ Nigel F. Telman




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